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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 DAWN HANNAH,

                         Plaintiff,
                                                   Civil Action No. 18-1422 (FLW) (LHG)
                         v.
                                                                 ORDER
 JOHNSON & JOHNSON INC., et al.,

                         Defendants.



 AMY JOHNSON, et al.,

                         Plaintiffs,
                                                   Civil Action No. 18-1423 (FLW) (LHG)
                         v.

 JOHNSON & JOHNSON INC., et al.,

                         Defendants.



 MAUREEN KASSIMALI, et al.,

                         Plaintiffs,
                                                   Civil Action No. 18-5534 (FLW) (LHG)
                         v.

 JOHNSON & JOHNSON INC., et al.,

                         Defendants.



                                                   Civil Action No. 18-5535 (FLW) (LHG)
 DARREN CARTWRIGHT, Individually and
 on Behalf of the Estate of Patricia Cartwright,
 Deceased, et al.,
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                          Plaintiffs,

                          v.

 JOHNSON & JOHNSON, et al.,

                          Defendants.



 SHERRON GAVIN, Individually and on
 Behalf of all Distributees of the Estate of
 Rosalyn Gavin, Deceased, et al.,

                                               Civil Action No. 18-10319 (FLW) (LHG)
                          Plaintiffs,

                          v.

 JOHNSON & JOHNSON INC., et al.,

                          Defendants.



 AMANDA REISING, Individually and on
 Behalf of the Estate of Christine Reising,
 Deceased, et al.,

                                               Civil Action No. 18-10320 (FLW) (LHG)
                          Plaintiffs,

                          v.

 JOHNSON & JOHNSON, et al.,

                          Defendants.



                                               Civil Action No. 18-14637 (FLW) (LHG)
 CYNTHIA GIBSON, Individually and on
 Behalf of the Estate of Devin Gibson,
 Deceased, et al.,
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                         Plaintiffs,

                         v.

 JOHNSON & JOHNSON INC., et al.,

                         Defendants.



 ELEANOR BARSH, et al.,

                         Plaintiffs,
                                           Civil Action No. 18-17103 (FLW) (LHG)
                         v.

 JOHNSON & JOHNSON, et al.,

                         Defendants.



 LISA HITTLER, et al.,

                         Plaintiffs,
                                           Civil Action No. 18-17106 (FLW) (LHG)
                         v.

 JOHNSON & JOHNSON INC., et al.,

                         Defendants.



 TASHAY BENFORD, et al.,
                                            Civil Action No. 19-5590 (FLW) (LHG)
                         Plaintiffs,

                         v.

 JOHNSON & JOHNSON INC., et al.,
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                         Defendants.



 LAURA MCCONNELL, et al.,

                         Plaintiffs,
                                                       Civil Action No. 19-9365 (FLW) (LHG)
                         v.

 JOHNSON & JOHNSON, et al.,

                         Defendants.



 CYNTHIA KANNADY, et al.,

                         Plaintiffs,
                                                       Civil Action No. 19-13476 (FLW) (LHG)
                         v.

 JOHNSON & JOHNSON, et al.,

                         Defendants.


        These matters, twelve of the transferred cases in the Johnson & Johnson Talcum Powder

 Products multidistrict litigation (“MDL”), each come before the Court upon the following motions:

        1. Plaintiffs’ twelve Motions to remand. See Mot. to Remand, ECF No. 65, Hannah v.

 Johnson & Johnson, Inc., No. 18-1422 (D.N.J. Mar. 5, 2018); Mot. to Remand, ECF No. 83,

 Johnson v. Johnson & Johnson, Inc., No. 18-1423 (D.N.J. Sept. 26, 2018); Mot. to Remand, ECF

 No. 85, Kassimali v. Johnson & Johnson, Inc., No. 18-5534 (D.N.J. July 25, 2018); Mot. to

 Remand, ECF No. 73, Cartwright v. Johnson & Johnson, No. 18-5535 (D.N.J. July 25, 2018);

 Mot. to Remand, ECF No. 92, Gavin v. Johnson & Johnson Consumer Inc., No. 18-10319 (D.N.J.

 Sept. 26, 2018); Mot. to Remand, ECF No. 87, Reising v. Johnson & Johnson, No. 18-10320
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 (D.N.J. Sept. 26, 2018); Mot. to Remand, ECF No. 72, Gibson v. Johnson & Johnson, No. 18-

 14637 (D.N.J. Nov. 1, 2018); Mot. to Remand, ECF No. 77, Barsh v. Johnson & Johnson, No. 18-

 17103 (D.N.J. Jan. 9, 2019); Mot. to Remand, ECF No. 66, Hittler v. Johnson & Johnson, Inc.,

 No. 18-17106 (D.N.J. Jan. 7, 2019); Mot. to Remand, ECF No. 75, Benford v. Johnson & Johnson,

 No. 19-5590 (D.N.J. Mar. 8, 2019); Mot. to Remand, ECF No. 89, McConnell v. Johnson &

 Johnson, No. 19-9365 (D.N.J. May 2, 2019); Mot. to Remand, ECF No. 56, Kannady v. Johnson

 & Johnson, No. 19-13476 (D.N.J. July 5, 2019).

        2. Defendant PTI Royston, LLC’s nine Motions to Dismiss. See ECF No. 82, Hannah,

 No. 18-1422 (D.N.J. June 12, 2018); ECF No. 78, Johnson, No. 18-1423 (D.N.J. June 12, 2018);

 ECF No. 79, Kassimali, No. 18-5534 (D.N.J. June 12, 2018); ECF No. 68, Cartwright, No. 18-

 5535 (D.N.J. June 12, 2018); ECF No. 86, Gavin, No. 18-10319 (D.N.J. July 9, 2018); ECF No.

 82, Reising, No. 18-10320 (D.N.J. July 9, 2018); ECF No. 78, Gibson, No. 18-14637 (D.N.J. Nov.

 5, 2018); ECF No. 79, Barsh, No. 18-17103 (D.N.J. Jan. 10, 2019); ECF No. 70, Hittler, No. 18-

 17106 (D.N.J. Jan. 11, 2019); ECF No. 81, Benford, No. 19-5590 (D.N.J. Mar. 15, 2019); ECF

 No. 94, McConnell, No. 19-9365 (D.N.J. May 8, 2019); ECF No. 51, Kannady, No. 19-13476

 (D.N.J. July 2, 2019).

        3. Defendant PTI Union, LLC’s eight Motions to Sever, (ECF No. 80, Johnson, No. 18-

 1423 (D.N.J. June 12, 2018); ECF No. 81, Kassimali, No. 18-5534 (D.N.J. June 12, 2018); ECF

 No. 70, Cartwright, No. 18-5535 (D.N.J. June 12, 2018); ECF No. 88, Gavin, No. 18-10319

 (D.N.J. July 9, 2018); ECF No. 84, Reising, No. 18-10320 (D.N.J. July 9, 2018); ECF No. 77,

 Gibson, No. 18-14637 (D.N.J. Nov. 5, 2018); ECF No. 81, Barsh, No. 18-17103 (D.N.J. Jan. 10,

 2019); ECF No. 74, Hittler, No. 18-17106 (D.N.J. Jan. 11, 2019)).
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        The Court having considered the parties’ submissions in connection with the above-listed

 motions pursuant to Fed. R. Civ. P. 78, for the reasons set forth in the accompanying Opinion filed

 on this date, and other good cause shown,

        IT IS on this 29th day of June, 2020,

        ORDERED that:

        1. Plaintiffs’ Motions to Remand in Hannah and Cartwright (ECF No. 65, Hannah, No.

            18-1422; ECF No. 73, Cartwright, No. 18-5535) are GRANTED; Hannah and

            Cartwright are hereby remanded to state court in Missouri.

        2. Plaintiffs’ Motions to Remand in Johnson, Kassimali, Gavin, Reising, Gibson, Hittler,

            Benford, McConnell, and Kannady (ECF No. 83, Johnson, No. 18-1423; ECF No. 85,

            Kassimali, No. 18-5534; ECF No. 92, Gavin, No. 18-10319; ECF No. 87, Reising, No.

            18-10320; ECF No. 72, Gibson, No. 18-14637; ECF No. 66, Hittler, No. 18-17106;

            ECF No. 75, Benford, No. 19-5590; ECF No. 89, McConnell, No. 19-9365; ECF No.

            56, Kannady, No. 19-13476) are GRANTED, in part, and DENIED, in part as follows:

            Johnson, Kassimali, Gavin, Reising, Gibson, Hittler, Benford, McConnell, and

            Kannady are hereby remanded, with the exception of the individual plaintiffs, listed in

            paragraph 6 of this Order, who are severed from these multi-plaintiff complaints and

            are each directed to file a separate complaint in this MDL.

        3. Plaintiffs’ Motion to Remand in Barsh (ECF No. 77, Barsh, No. 18-17103) is

            DENIED.

        4. Defendant PTI Royston’s Motions to Dismiss in Johnson, Kassimali, Gavin, Reising,

            Gibson, Barsh, Hittler, Benford, McConnell, and Kannady (ECF No. 78, Johnson, No.

            18-1423; ECF No. 79, Kassimali, No. 18-5534; ECF No. 86, Gavin, No. 18-10319;

            ECF No. 82, Reising, No. 18-10320; ECF No. 78, Gibson, No. 18-14637; ECF No. 79,
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          Barsh, No. 18-17103; ECF No. 70, Hittler, No. 18-17106; ECF No. 81, Benford, No.

          19-5590; ECF No. 94, McConnell, No. 19-9365; ECF No. 51, Kannady, No. 19-13476)

          are GRANTED as to those plaintiffs listed in paragraph 6 of this Order, whose claims

          remain in this MDL.

       5. Defendant PTI Union’s eight Motions to Sever (ECF No. 80, Johnson, No. 18-1423;

          ECF No. 81, Kassimali, No. 18-5534; ECF No. 70, Cartwright, No. 18-5535; ECF No.

          88, Gavin, No. 18-10319; ECF No. 84, Reising, No. 18-10320;, ECF No. 77, Gibson,

          No. 18-14637; ECF No. 81, Barsh, No. 18-17103; ECF No. 74, Hittler, No. 18-17106)

          are GRANTED as to those plaintiffs, identified in paragraph 6 of this Order, as

          remaining in this MDL and who are directed to file individual complaints.

       6. The claims of all Missouri Plaintiffs who filed their action after June 6, 2018; all Florida

          Plaintiffs who filed their action before June 6, 2018; and all Plaintiffs who are not

          citizens of California, Florida, Georgia, New Jersey, or Missouri in Johnson,

          Kassimali, Gavin, Reising, Gibson, Hittler, Benford, McConnell, and Kannady are

          hereby severed as follows:

          i. The severed Plaintiffs who are Missouri citizens or allege they purchased the

              products in Missouri must refile their complaints within thirty (30) days of the entry

              of this Order and pay the attendant filing fees. The severed cases shall proceed

              separately under their own name and docket number. In each of their refiled

              complaints, they may name as defendants Imerys Talc America Inc., f/k/a Luzenac

              America, Inc.; PTI Union, LLC; Johnson & Johnson Inc.; and Johnson & Johnson

              Consumer, Inc., f/k/a Johnson & Johnson Consumer Companies, Inc. The

              following plaintiffs fall into this category.:

                  a. In Johnson, the plaintiff is: Judith Hovorka.
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                b. In Kassimali, the plaintiff is: Maureen Kassimali.

                c. In Gavin, the plaintiff is: Margaret Chitwood.

                d. In Reising, the plaintiff is: Gloria Barotta.

                e. In Barsh, the plaintiffs are: Eleanor Barsh, Mary Simmons, Rosalind

                    Weathers, and Bridget Mendoza.

                f. In Hittler, the plaintiff is: Lisa Hittler.

                g. In Benford, the plaintiffs are: Tashay Benford, Sandra K. Bales, Donald

                    Dibbern, Cathy Foss, William Furlow, Karen Gotzler, Sheila Hoffman,

                    Ronnie Jones, and Colleen Lightwine.

                h. In McConnell, the plaintiffs are: Laura McConnell, Frankie Bolus, Carolyn

                    F. Bumphrey, Karen Ernst, David Prinster, and Heather Sisk.

                i. In Kannady, the plaintiffs are: Cynthia Kannady, Laura Armes, Darla

                    Baswell, Priscilla Bodony, Carol Calhoun, Beth Filley, Deborah

                    McCormick, and Ruby Schmidt.

          ii.   The non-Missouri Plaintiffs’ claims against Defendants Johnson & Johnson, or

                Johnson & Johnson, Inc., and Johnson & Johnson Consumer Inc., f/k/a Johnson

                & Johnson Consumer Companies, Inc., are DISMISSED for lack of personal

                jurisdiction. Those Plaintiffs may file separate complaints against only

                defendants PTI Union and Imerys in this MDL, and pay the attendant filing

                fees, within thirty (45) days of the entry of this Order. The following Plaintiffs

                fall into this category:

                          a. The Court severs the claims of the following plaintiffs from

                          Johnson: Patricia Adolph, Marcia Balsbaugh, Christine Bass, Fay

                          Bean, Camilla Belgrad, Mamie Bell, Laura Blythe, Valarie Breaux,
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                       Joan Browning, LaTonya Bryson, Patricia Cichosz, Amy Delcourt,

                       William Eledge, Lenda Folks, Cynthia Franklin, Tanya Fritz, Darlene

                       Goettsch, Mary Harper, Alvertis Harrell, Eileen Hattan, Kristen

                       Hertel, Pamela Hinkle, Amy Elaine Pelton, Donna Houser, Tanya

                       Hoyle, Abigail Hunt, Joyce Knox, Michelle Cardente, Deborah

                       Lewandowski, Victoria Longo, Michelle Magliochetti, Anna Martin,

                       Marry Martinez, Barbara Matthews, Deidre McNamara, Linda Miller,

                       Claudine Mitchell, LaTasha Mosley, Patricia Oclander, Caroyln

                       Perkola, Tammy Pfeiffer, Traci Pixler, Erika Price, Deborah Roberts,

                       Judy Robertson, Vicky Rose, Regina Ruff, Elizabeth Schweers,

                       Raymond Spano, Betty Sperry, David Tkacik, James Stelk, Amie

                       Sudds, Jacquelyn Sullivan, Judy Terry, Susan Klaumann, Laurel

                       Uyama Wagner, Ana Valencia, Lori H. Ward, Jessica Woods, and

                       Michelle Zurowski.

                       b. The Court severs the claims of the following plaintiffs from

                       Kassimali: Luz Maria Alvarez, Susie Atkinson, Laura Avery, Martha

                       Beasley, Vanessa Blair, Catalina Bodiriau, Sherry Lenie Chapman,

                       Diana Coomer, Betsy Corcoran, Deborah Cruse, Lonnette Duell,

                       Lezlie Fletcher, Claudia Flores, Dixie Flores, Rebecca Fournier, Anna

                       Gardner, Erika Gonzales, Brenda Gumm, Shelly Heuertz, Haley

                       Houston, Berna Hutchinson, Wilma Judy, Cindy Kimple, Mindy

                       Koentopp, Cathy Lee, Mark Liu, Linda Martin, Elizabeth Martinez-

                       Baeza, Kimberly Mettetal, Edwin Nelson, Carol Poulin, Tina Ravenel,

                       Mary Roach, Mary Rodriguez, Cheryl Rolland, Antonietta Sakcriska,
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                       Irene Sanchez, Lucretia Silvers, Theodore Skidmore, Janet Smith,

                       Nancy Stepper, Debbie Taylor, Regina Voudren, Traute Watson, and

                       Suzanne Wilson.

                       c. The Court severs the claims of the following plaintiffs from Gavin:

                       Diane Bennane, Phyllis Billingsley, Victoria Blum, Teresa Boulden,

                       Annette Brugger, Angela Byrom, Carolyn Cabell, Alice Cobb, Linda

                       Collins, Tamika Daniels, Henry David, Yvonne DeKlein, Maureen Di

                       Francesco, Carmen Dorame, Korri Fields, Eloise Franklin, Sharinese

                       Franklin-Jackson, Wanda Fulfer, Wendie Michelle Gates, Patricia

                       Greer, Kevin Groce, Alaina Gubecka, Shirley Hayes, Cindy Hintz-

                       Rush, Christine Janny, Alice Johnson, Connie Jones, Margaret Kelly,

                       Vickie Krantman, Wiletta Langston, Gaynell Leath, Jacqueline Liley,

                       Joni Linton, Laura MacDonald, Janet Maslowski, Vickie McNatt,

                       Sherry Miller, Dixie Moore, Lorraine Ochoa, April Osterdock, Susan

                       Owens, Belen Perez, Connie Phillips, Angela Redmond, Debra L.

                       Riggins, Tammy Ross, Angie Sandoval, Susan VanDenBerg, Yvette

                       White, and Diana Williams.

                       d. The Court severs the claims of the following plaintiffs from

                       Reising: Ivette Babuca, Amber Briggs, Kathleen E. Bergen, Bernice

                       Carmichael, Linda Chavez, Samirah Chtay, Frances I. Cullen, Pamela

                       Cunningham, John Dysart, Glenda Easter, Kelly Eck, Charlene

                       Emanuel, Rebecca Grande, Catherine Hamill, Penelope Lynne

                       Hennon, Gloria-Ann Joos, Dana Carol Kirby, Kimberly Massetti,

                       Linda Menefee, Jennifer Morgan, Carson Morton, Leslie Murray,
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                       Jennifer Parison, Timothy Pieri, Patricia Porrazzo, Dustin Porterfield,

                       Joy Richey, Diane Theresa Rippe, Susan Sadowski, Esther Rae

                       Saylor, Desseree Scarlet, Mary Scimeca, Lauren Sparrow, Wilma L.

                       Stafford, Crystal Stephens, Cynthia Taylor, Chanh Tran, Vicki Voyce,

                       Evelyn Waddell, Debbie Wiest, Jo Wilder, Patti Wylie, and Kathleen

                       Yancy.

                       e. The Court severs the claims of the following plaintiffs from

                       Gibson: William Ayres, Dan Breshears, Brent J. Christensen and

                       JoDale Skinner, Tamika Clark, Raymond P. Coots, Jill Corbin, Walter

                       Croxton, Steven Cynewski, Danny Davis, Eva Foster, Paula

                       Genovesi, Donna Hall, Susan Haluzak, Rita Hoston, Michelle

                       Hemmin, Dolores Hinojosa, Trinity Kelly, Deborah L. Meara, Donna

                       Peterson, Allen Prescott, Cindy Rasmussen, Diann Robinson, William

                       Robinson, Deshondra Salami, Alice Salas, Gregory Speicher, Janelle

                       Stevens, Pamela Swecker Kinder, Janine Tollis, David Vanness,

                       Archie Wellman, Brenda Sue White, Nancy White, Tracy Wood, and

                       Debbie Wynn.

                       f. The Court severs the claims of the following plaintiffs from Hittler:

                       Kimberly Abney, Theresa Allen, Bruce Armes, Susan Beenken,

                       Audria Bell, Elda Brand, Yolanda Latrice Brown, Joyce Burgess,

                       Elizabeth Cross, Gary Doiel, Marcia Farthing, Lavita Gilpin, Juana

                       Guerrero, Jessica Gutierrez, Geraldine H. Hecker, Marcia T. Hess,

                       Roderick Hill, Cynthia Isaguirre, Howard Jackson, David Peter

                       Johnson, Joyce Knutson, Crystal Morgan, Marie Morgan, Sharon
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                       Raley, Willisha Ruff, Paula Schuetz, Kristi Marie Shepherd, Glenda

                       Steger, Sandra Stotts, Randel Thompson, Michelle Underell, Dollie

                       Mae VanHoy, Kelly Christine Webb, Merrie White, Edna Whitehead,

                       Pamela Y. Williams, Ricky Lynn Williams, and Lothar Myer.

                       g. The Court severs the claims of the following plaintiffs from

                       Benford: Brenda Bailey, Sandra Barber, Philip Berry, Sandra Burkey,

                       Ramona Burnett, Virginia Caggiano, Lisa Cherry, Beverly Dalton,

                       Janice DeGroot, Karen Dostal, Don D. Dreer, Dramonda Dunn,

                       Yolanda Espinoza, Aletha Freeman, Holly Freeman, Ray Garza, Sr.,

                       Patricia Golombek, Kathy Gray, Jonny Gutierrez, Linda Gutierrez,

                       Hope Hussung, Karen Kelly, Aaron King, Peggy S. LaCour, Mary

                       Ann Mantel, Neil Martinson, Brittany McDonald, Charlotte Metoyer,

                       Jolie Molleur, Kelly Neuenswander, Thomas Newbraugh, Jeanette P.

                       Nowakowski, Sharon Lee O’Conner, Ana Pavey, Stephen Piacenza,

                       Cheryl Pogorelc, Carol Robinson, Arvid Rossell, Patricia Stalker,

                       Kimberly Sweeney, Janet Vigorito, Yolanda Villarreal, Shirley J.

                       Voyles, Charlotte M. Yezek, Richard Zurstadt, and Kourtney Moon.

                       h. The Court severs the claims of the following plaintiffs from

                       McConnell: Erwin Austin, Pearl Baars, Michael Bearse, Victoria L.

                       Bentley, Julia Bernal, Connie Boggs, Roseanna Camaioni, Brandy

                       Cisneros, Deborah Claybaugh, Leah Croxton, Kathleen A. Curtin,

                       Diane Dart-Baden, Ann Efflandt, Emma Evans, Regina M. Fusco,

                       Gail Gebara, Susan Goman, Tony Chavez, Jr., Alice C. Goodrich,

                       Beverly Harbaugh, Kathy Hodges, Susan Holtman, Martha J. Hood,
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                       Cynthia Jones, Sylvia Jones, Natalie Brooke Kellogg, Judy Krasovec,

                       Connie S. Kyncl, Diane Larson, Vanessa Lucero, Pamela Massingill,

                       Lisa Matson, Jo Mattingly, Peggy McCullough, Veronica McIsaac,

                       Viengxay Medina, Margaret Mehren, Linda S. Miller, Debra Myton,

                       Helen Nicholson, Lou Phanor, Holly Sexton, Joyce Silber, Mary M.

                       Sironen, Lorraine Souza, Justine Steele, Sharon Turley, Sandra

                       Turner, Derek Wells, Cynthia Westbrook, Greg White, Annie

                       Williams, Lorna Schlosser, Hayley Chambers, and Florence

                       Mendoza.

                       i.   The Court severs the claims of the following plaintiffs from

                       Kannady: Dawn Barnett, Timothy Bart, Marilou Bell, Joen Blanton,

                       Jenny Bonnici, Charlene Bradley, Michael Branowicki, Susan Brown,

                       Joan Busch, Christy Carlson, Linda Caslin, Debra Charles, Haydee

                       Marie Chiarolanza, Renee Ciulla, Roger Clark, Carol Condon, Sally

                       Criner, Jerrlyn Culp, Sandra Cumby, Rose M. DiMarino, Theresa

                       Dorn, Pamela Espinosa, Deborah L. Fox, Gail Giles, Teresa

                       Hotchkiss, Julie Johnson, Diane Jones, Timothy Korth, Patricia

                       Krocker, Ann Laplante, Joan Liechty, Maggie Luna, Susan Maddern,

                       Jo-Ann Mallia-Stache, Karla Martin, Chris Mayfield, Janie

                       McFarland, Elaine F. Miller, Jessica Morris, Juanita Mount, Joanne

                       Nusser, Ann Pomeroy, Lori Prettypaint, Ellen Lynn Redding, Sandra

                       Rice, Shonda Roddy, Rhonda Schneider, Rebecca Shaw, Deborah

                       Skolaski, Debra Slate, Linda Speirs, Sharon Renee Starke, Joe

                       Taschler, Margaret Thomas, Kristi Turner, Mitsy Waterman,
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                       LaDonna Wilson, Deloris Worstell, Wayne Worth, and Patricia

                       Zbichorski.



                                              /s/ Freda L. Wolfson
                                              FREDA L. WOLFSON
                                              CHIEF UNITED STATES DISTRICT JUDGE
